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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY



 PRESTIGE INSTITUTE FOR PLASTIC
                                                Civ. No. 20-496 (KM) (ESK)
 SURGERY, P.C.,
 and
 KEITH M. BLECHMAN, M.D., P.C.,                           ORDER
 on behalf of PATIENT HG,

                Plaintiffs,

 v.

 KEYSTONE HEALTHPLAN EAST,
 BLUE CROSS OF CALIFORNIA d/b/a
 ANTHEM BLUE CROSS,
 and
 SIEMENS CORPORATION GROUP
 INSURANCE AND FLEXIBLE
 BENEFITS PROGRAM

              Defendants.



      KEVIN MCNULTY, U.S.D.J.:
      Before the Court are the motions (DE 23, DE 24) of Defendants Keystone
Healthplan East, and Blue Cross of California, d/b/a Anthem Blue Cross to
dismiss the Amended Complaint (DE 11) of Plaintiffs Prestige Institute for
Plastic Surgery, P.C. and Keith M. Blechman, M.D., P.C. The Court having
considered the papers in support and in opposition (DE 23, DE 24-1; DE 28;
DE 31; DE 32; DE 45; DE 46) and decided the motions without oral argument;
for the reasons stated in the Opinion filed on this date, and for good cause
shown:
      IT IS this 30th day of November, 2020
      ORDERED that defendants’ motions (DE 23, DE 24) are GRANTED
insofar as the Amended Complaint is DISMISSED for failure to state a claim
upon which relief may be granted, pursuant to Fed. R. Civ. P. 12(b)(6).
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       This dismissal is entered without prejudice to the filing, within 30 days,
of a properly supported motion to amend the Complaint. The clerk shall close
the file.
                                            /s/ Kevin McNulty
                                            _____________________________
                                            KEVIN MCNULTY
                                            United States District Judge
